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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

LILIAN PAHOLA CALDERON JIMENEZ
AND LUIS GORDILLO, ET AL.,
individually and on behalf of all
others similarly situated,

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)
Petitioners-Plaintiffs, )
)
Vv. ) C.A. No. 18-10225-MLW
)
KEVIN McALEENAN, ET AL., }
)
Respondents-Defendants. )

AMENDED ORDER

WOLF, D.d. July 29, 2019

It is hereby ORDERED that:
1. Respondents shall, by July 30, 2019, respond to

petitioners’ Motion for Order to Show Cause (Docket No. 304) (the
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"Motion") and address why the court’ should not find that
respondents have unlawfully detained each of the 13 individuals
identified in respondents' attached July 12, 2019 Detention Report
(Exhibit A) and order appropriate relief.

2. In order to preserve the court's jurisdiction and to
provide the parties an opportunity to brief the issues properly,
the individuals identified in Exhibit A hereto shall not be moved
outside the District of Massachusetts until the Motion has been

resolved or outside the jurisdiction of Boston Enforcement and

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Removal Operations if they are not now detained in Massachusetts.
See 28 U.S.C. §1651(a).

3. Petitioners' Assented-to Motion to Seal (Docket No. 303)
is ALLOWED temporarily, without prejudice to possible unsealing in
whole or in part. Petitioners shall, by July 30, 2019 at 10:00
a.m., file another motion to seal with more limited redactions,
and an affidavit and memorandum explaining why such redactions are

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justified. See F.T.C. v. Standard Fin. Mgmt. Corp., 830 F.2d 404,

408 (ist Cir. 1987); United States v. Kravetz, 706 F.3d 47, 52, 54

(lst Cir. 2013); Docket No. 223, Ark. Teacher Ret. Sys. v. State

Street, C.A. No. 11-10230 (D. Mass. May 16, 2018) (Wolf, J.).

UNITED STATES DISTRICT JUDGE

